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IN THE UNITED sTATEs DISTRICT coURT
FOR THE WESTERN DISTRICT oF TENNESSEED$JUN§§
WESTERN DIvIsIoN `

 

 

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UNITED sTATEs oF AMERICA, W-D o'§- m §§ §;§§p§§§S

VS. NO. 05-20035-Ma
CHARESE P. HUTCHINS,

Defendant.

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came to be heard on June 14, 2005, the United
States Attorney for this district, Carroll L. Andre, III,
appearing for the government and the defendant, Charese P.
Hutchins, appearing in person and with counsel, Needum Louis
Germany, III.

With leave of court, the defendant Withdrew the not guilty
plea heretofore entered and entered a plea of guilty to Counts 2
and 4 of the Indictment.

Plea colloquy Was held and the court accepted the guilty
plea.

SENTENCING in this case is SET for FRIDAY, SEPTEMBER 9,
2005, at 3:00 P.M., in Courtroom No. 2, on the 11th floor before
Judge Samuel H. Mays, Jr.

Defendant is allowed to remain released on the present bond.

lif??day Of June, 2005.

M%/’H/¢im_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

ENTERED this

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20035 Was distributed by faX, mail, or direct printing on
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Carroll L. Andre

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Honorable Samuel Mays
US DISTRICT COURT

